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              13
              14
                                           UNITED STATES DISTRICT COURT
              15
                                          CENTRAL DISTRICT OF CALIFORNIA
              16
              17                                                CASE NO. 2:17-cv-06034-PA-MRW
              18      HARMONY GOLD, USA, INC.,                  AMENDED JUDGMENT
              19            Petitioner,
                                                                CONFIRMING ARBITRATION
              20            v.
                                                                AWARD
              21      TATSUNOKO PRODUCTION CO.,
                      LTD.,
              22
                            Respondent.
              23
              24
              25
              26
              27
              28
                                                                JUDGMENT CONFIRMING ARBITRATION AWARD
ATTORNEYS AT LAW
  LOS AN GE LES                                             1
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                   1        The Petition to Confirm Arbitration Award (the “Petition”) brought by
                   2 petitioner Harmony Gold, USA, Inc. (“Petitioner”) is pending before the Court.
                   3 Having carefully considered the papers filed in support of the Petition, the Court
                   4 enters judgment as follows:
                   5
                   6        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
                   7        That the Arbitration Award issued by the Independent Film & Television
                   8 Alliance on June 28, 2017 in connection with the arbitration proceedings between
                   9 Petitioner and Tatsunoko Production Co., Ltd., a true and correct copy of which is
              10 attached hereto as Exhibit A, is the Judgment of this Court.
              11
              12            Pursuant to California Civil Code section 3287, the parties are entitled to
              13 recover prejudgment interest on any unsatisfied amount of money ordered to be
              14 paid in the Arbitration Award which accrued between June 28, 2017 and the date
              15 of this judgment at the statutory rate.
              16
              17            IT IS SO ORDERED.
              18
              19
              20 Dated: August 23           , 2017
                                                                Hon. Percy Anderson
              21                                                United States District Judge
              22
              23
              24
              25
              26
              27
              28
                                                                    JUDGMENT CONFIRMING ARBITRATION AWARD
ATTORNEYS AT LAW
  LOS AN GE LES                                                 2
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                                 EXHIBIT A
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                            Freedman Communications, Inc.
                           fso JACK E. FREEDMAN, ESQ.
                     1093 Broxton Ave., Suite 228, Los Angeles, CA 90024
                                   JackFreedmanEsq@Gmail.com


                          ARBITRATOR final INVOICE – June 26, 2017

                           RE:          IFTA Arbitration #16-75

            Harmony Gold, USA, Inc. v. Tatsunoko Production Co., Ltd.

  DATE          SERVICES                                                        HOURS

  2017

  4.25          EM: JSB submitting Declaration, Request 4 days for Hearing,                     ¼
                Setting Hearing Location; A response

                Review Narushima Declaration                                                   ¼

  4.27          Review Light papers objecting to Narushima Declaration                         1¾
                Em from JSB and Arbitrator response

  5.3           Review Pleadings, Declarations, Exhibits re: Narushima Declaration             3½
                Issue Ruling

  5.4           Review Claimant Opening Trial Brief, Exhibits & Authorities                    2

  5.5           Review Respondent Pre-Hearing Statement, Exhibits, Authorities,
                Declarations (4)                                                               2

  5.4-8         Expert substitution; type of award                                              n/c

  5-10-15       Review Claimant Responding Brief, exhibits, authorities, final witnesses       2

  5.10-15       Review Respondent Rebuttal to Claimant’s Pre-Hearing Statement, Supplemental
                Declarations (2), final Witness List                                         2

  5.10-11       Discussion of volume of exhibits/witnesses causing hearings to exceed 4 days    ¼
                Counsel response on above and procedural matters

  5.10-11       Award per Rule 12.2 and court reported permitted                               n/c

  5.10-15       Review Claimant Exhibit books                                                  5

  5.10-15       Review Respondent Exhibit books                                                5
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  5.12         Review Claimant 4 additional exhibits                                   ¼
  5.15         Review 9 additional Claimant exhibits                                   ½
  5.16         Hearing Day 1 9-6 (all include 30 minute rt travel time (Rule 14.1.2)   9½
  5.17         Hearing Day 2 9:60                                                      10
  5.18         Hearing Day 3 9-6:30                                                    10
  5.19         Hearing Day 4 9-7:15                                                    10 ¾
  5.19         Closing letter from Arbitrator re: post hearing issues.                 ¼

  6.1          Counsel request to postpone interest calculation                        n/c
  6.5-6        Receipt of closing docs/questions                                       n/c
  6.7          EM re: adjustment of costs submitted; A response re: reporter, meals    ¼
  6.7-23       Review C & R Post-Hearing Briefs/Authorities, Legal fee declarations    50
               Review transcripts, exhibits, notes.
  6.14         A questions to Counsel re: transcripts                                  n/c
  6.16-24      Prepare Award                                                           15

  6.27         Submit Award to IFTA for transmittal to parties                         n/c




  130 ½ Total hours at $350 per hour = $45,675 less deposits of $43,000 = $2,675 unpaid/due
  = $1,337 from each party.




  Payments to be made to “Freedman Communications, Inc.”
  Federal Tax I.D. # 9503993694 and sent to:
                             Freedman Communications, Inc.
                             Attention: Jack E. Freedman
                             1093 Broxton Ave., Suite 228,
                             Los Angeles, CA 90024-2831
